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EXHIBIT A
 

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NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 10/26/2018

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF QUEENS “

CARLOS CAPA, Index No.
Filed:

Plaintiffs,
Plaintiff designates
QUEENS COUNTY
as the place
of trial.
-against-

The basis of venue

is Place of Occurrence
AWESOME TRANSPORTATION, INC., CACTUS
HOLDINGS, INC., and CARLOS SMITH,

SUMMONS
Defendants.

 

x
To the above named Defendants

YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
appearance, on the Plaintiff's Attorney(s) within 20 days from the date of service of this
summons, exclusive of the day of service (or within 30 days after the service is complete if the
summons is not personally delivered to you within the State 4f New York); and in case of your
failure to appear or answer, judgment will be taken agains/you by default for the relief
demanded herein.

 
    

 

 

Dated: New York, New York ’ MARSHALL 9, BLUTH, ESQ.
October 23, 2018 Attornéy for Plaintiff

233 Broadway, Suite 1800
New York, New York 10279
212-448-1130

DEFENDANTS’ ADDRESS:

AWESOME TRANSPORTATION, INC. CARLOS SMITH

47-05 Metropolitan Ave. 1250 Ocean Ave

Ridgewood, NY 11385 Brooklyn, NY 11230

CACTUS HOLDINGS INC.
47-05 Metropolitan Ave.
Ridgewood, NY 11385

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NYSCEF DOC. NO. 1 RECEIVED NYSCEF: 10/26/2018

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF QUEENS
x
CARLOS CAPA,
Index No.
Plaintiff,
-against- . VERIFIED
COMPLAINT
AWESOME TRANSPORTATION, INC., CACTUS
HOLDINGS, INC., and CARLOS SMITH,
Defendants.
Xx

 

Plaintiffs, by their attorney, MARSHALL S. BLUTH, ESQ., complaining of the
defendants herein, respectfully sets forth and alleges, upon information and belief, as
follows:

1. That at all times herein mentioned, the plaintiff, CARLOS CAPA, was and
still is a resident of the State of Pennsylvania.

2. That at all times herein mentioned, the defendant, AWESOME
TRANSPORTATION, INC., was and still is a domestic corporation duly organized and
existing under and by virtue of the laws of the State of New York.

3. That at all times herein mentioned, the defendant, AWESOME
TRANSPORTATION, INC., was and still is a foreign corporation duly authorized to do
business in the State of New York.

4. That at ail times herein mentioned, the defendant, CACTUS
HOLDINGS, INC., was and still is a domestic corporation duly organized and existing

under and by virtue of the laws of the State of New York.

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5. That at all times herein mentioned, the defendant, CACTUS
HOLDINGS, INC., was and still is a foreign corporation duly authorized to do business
in the State of New York.

6. That at all times herein mentioned, the defendant, CARLOS SMITH, was
and still is a resident of the County of Kings, City and State of New York.

7. That on August 11, 2017, the defendant, CARLOS SMITH, was an
employee of defendant, AWESOME TRANSPORTATION, INC.

8. That on August 11, 2017, the defendant, CARLOS SMITH, was an
employee of defendant, CACTUS HOLDINGS, INC.

9. That on August 11, 2017, the defendant, CARLOS SMITH, was an agent
of defendant, AWESOME TRANSPORTATION, INC.

10. That on August 11, 2017, the defendant, CARLOS SMITH, was an agent
of defendant, CACTUS HOLDINGS, INC.

11. That on August 11, 2017, the defendant, AWESOME
TRANSPORTATION, INC., was the owner of a 1996 motor vehicle bearing New York
State registration number 96139PA.

12. That on August 11, 2017, the defendant, AWESOME
TRANSPORTATION, INC., leased the said 1996 motor vehicle bearing New York State
registration number 96139PA.

13. | That on August 11, 2017, the defendant, AWESOME
TRANSPORTATION, INC., by its servant, agent and/ or employee, was operating the
said 1996 motor vehicle bearing New York State registration number 96139PA.

14. That on August 11, 2017, the defendant, AWESOME

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TRANSPORTATION, INC., by its servant, agent and/ or employee, managed the said
1996 motor vehicle bearing New York State registration number 96139PA.

15. That on August 11, 2017, the defendant, AWESOME
TRANSPORTATION, INC., by its servant, agent and/ or employee, maintained the said
1996 motor vehicle bearing New York State registration number 96139PA.

16. That on August 11, 2017, the defendant, AWESOME
TRANSPORTATION, INC., by its servant, agent and/ or employee, controlled the said
1996 motor vehicle bearing New York State registration number 96139PA.

17. That on August 11, 2017, the defendant, CACTUS HOLDINGS, INC., was
the owner of a 1996 motor vehicle bearing New York State registration number
96139PA.

18. That on August 11, 2017, the defendant, CACTUS HOLDINGS, INC..,
leased the said 1996 motor vehicle bearing New York State registration number
96139PA.

19. That on August 11, 2017, the defendant, CACTUS HOLDINGS, INC., by
its servant, agent and/ or employee, was operating the said 1986 motor vehicle bearing
New York State registration number 96139PA.

20. Thaton August 11, 2017, the defendant, CACTUS HOLDINGS, INC., by
its servant, agent and/ or employee, managed the said 1996 motor vehicle bearing New
York State registration number 96139PA.

21. That on August 11, 2017, the defendant, CACTUS HOLDINGS, INC., by
its servant, agent and/ or employee, maintained the said 1996 motor vehicle bearing

New York State registration number 96139PA.

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22. That on August 11, 2017, the defendant, CACTUS HOLDINGS, INC., by
its servant, agent and/ or employee, controlled the said 1996 motor vehicle bearing New
York State registration number 96139PA.

23. That on August 11, 2017, the defendant, CARLOS SMITH, was the
operator of the said 1996 motor vehicle bearing New York State registration number
96139PA.

24. That on August 11, 2017, the defendant, CARLOS SMITH, operated the
said 1996 motor vehicle bearing New York State registration number 96139PA, within
the scope of his employment with defendant AWESOME TRANSPORTATION, INC.

25. That on August 11, 2017, the defendant, CARLOS SMITH, operated the
said 1996 motor vehicle bearing New York State registration number 96139PA, in the
course of his employment with defendant AWESOME TRANSPORTATION, INC.

26. That on August 11, 2017, the defendant, CARLOS SMITH, operated the
said 1996 motor vehicle bearing New York State registration number 96139PA with the
expressed and implied consent of AWESOME TRANSPORTATION, INC.

27. That on August 11, 2017, the defendant, CARLOS SMITH, operated the
said 1996 motor vehicle bearing New York State registration number 96139PA with the
expressed and implied knowledge of AWESOME TRANSPORTATION, INC.

28. That on August 11, 2017, the defendant, CARLOS SMITH, operated the
said 1996 motor vehicle bearing New York State registration number 96139PA with the
expressed and implied permission of AWESOME TRANSPORTATION, INC.

29. That on August 11, 2017, the defendant, CARLOS SMITH, operated the

said 1996 motor vehicle bearing New York State registration number 96139PA, within

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the scope of his employment with defendant CACTUS HOLDINGS, INC.

30. That on August 11, 2017, the defendant, CARLOS SMITH, operated the
said 1996 motor vehicle bearing New York State registration number 96139PA, in the
course of his employment with defendant CACTUS HOLDINGS, INC.

31. That on August 11, 2017, the defendant, CARLOS SMITH, operated the
said 1996 motor vehicle bearing New York State registration number 96139PA with the
expressed and implied consent of CACTUS HOLDINGS, INC.

32. That on August 11, 2017, the defendant, CARLOS SMITH, operated the
said 1996 motor vehicle bearing New York State registration number 96139PA with the
expressed and implied knowledge of CACTUS HOLDINGS, INC.

33. That on August 11, 2017, the defendant, CARLOS SMITH, operated the
aforementioned motor vehicle with the expressed and implied permission of CACTUS
HOLDINGS, INC.

34. That on August 11, 2017, the plaintiff, CARLOS CAPA, was the operator
of a 2015 Nissan motor vehicle bearing New York State registration number GV636115.

35. That at all times herein mentioned, Northern Bivd, at or about the
intersection of 87 Street, in the County of Queens, City and State of New York, was
and still is a public thoroughfare and highway located in the County of Queens, City and
State of New York.

36. Thaton the 11" day of August 2017, at or about the intersection of
Northern Bivd and 87" Street, in the County of Queens, City and State of New York, the
said 1996 motor vehicle bearing New York State registration number 96139PA and the

said 2015 Nissan motor vehicle bearing New York State registration number GV636115

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were in collision with each other.

37. That the defendants were negligent in the ownership, operation,
maintenance, management and control of their said vehicle; in that they failed to keep
their vehicles under proper and safe control; in that they operated said vehicles at an
improper speed under the existing traffic conditions; in that they suddenly, and without
warning, collided with plaintiffs vehicle; in proceeding at a high rate of speed under the
existing circumstances; in failing to give the right of way; in failing to make proper use of
braking mechanisms; in failing to make proper use of steering mechanisms; in failing to
keep a proper lookout; in failing to take steps to avoid the occurrence; in causing the
defendants’ vehicle to collide with plaintiffs; and defendants were otherwise negligent,
careless, and reckless in the premises.

38. That by reason of the foregoing, the plaintiff, CARLOS CAPA, sustained
grievous personal injuries to various parts of his body and limbs; suffered shock to his
nerves and nervous system; suffered and will continue to suffer great pain and anguish
in body and mind; that he has received necessary hospital care by reason of the injuries
sustained; that he has necessarily received, are receiving and will continue to receive
medical care and treatment in connection with the injuries suffered by him, and in
connection with which expenses have, are and will continue to be incurred; that he has
been greatly incapacitated and has been unable to attend to his usual duties as he had
theretofore done, and his injuries are permanent, protracted and disabling in nature.

39. That as the result of the foregoing, the plaintiff suffered a “serious injury"
as defined by §5102, Subd. (d) of the Insurance Law of the State of New York.

40. That by reason thereof, the plaintiff is entitled to recover for non-economic

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loss and for such economic losses as are not included within the definition of "basic
economic loss" as set forth in §5102, Subd.(a) of the Insurance Law of the State of New
York.

41. That the plaintiff is a "covered person" as defined in §5102 (j) of the
Insurance Law of the State of New York.

42. That any joint and several liability of the defendants is not limited by CPLR
1601, by reason of the exceptions set forth in Article 16 of the CPLR.

43. That by reason of the foregoing, the plaintiff, CARLOS CAPA, has been
caused to suffer damages in a sum greater than the jurisdictional limits of all other
courts that would otherwise have jurisdiction hereof.

WHEREFORE, the plaintiff demands judgment against the defendants in a sum
greater than the jurisdictional limits of all other courts that would otherwise have

jurisdiction hereof, together with the costs and disbursements of this action.

(MARSHALL S. BLUTH, ESQ.
Attorney foi Plainti
233 Broadway, Suite 1800

New York, New York 10279
212-448-1130

  

 

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VERIFICATION

MARSHALL BLUTH, under the penalty of perjury and pursuant to
CPLR hereby affirms the truth of the following:

That deponent is the attorney for the claimant(s) in the within action;
that deponent has read the foregoing Summons and Verified Complaint and
knows the contents thereof; that the same is true to deponent's own
knowledge except as to the matters therein stated to be alleged upon
information and belief, and as to those matters deponent believes them to be
true. The reason that this verification is not made by the claimant(s) and is
made by deponent is that claimant(s) does not reside in the County wherein
the deponent maintains his office.

Deponent further states that the grounds of deponent's belief as to all
matters not stated upon my own knowledge are documents and information

contained in deponent's file.

Dated: New York, New York
October 23, 2018

 

L BLUTH

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10/26/2018
 

 

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF QUEENS
x
CARLOS CAPA,
Index No.
Plaintiff,
-against- VERIFIED
COMPLAINT
AWESOME TRANSPORTATION, INC, CACTUS
HOLDINGS, INC., and CARLOS SMITH,
Defendants.
X

 

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MARSHALL S. BLUTH, ESQ.
Attorneys for Plaintiff (sa)
233 Broadway, Suite 1600
New York, NY 10279
(212) 448-1130

Pursuant to 22 NYCRR 130-1.1, the undersigned, apf ~ttorney duly admitted to
practice law in the State of New York, certifie at, upon information and
belief based upon reasonable inquiry, the ntd@nthons contained in the

annexed document are not frivolous.

MAREE . BLUTH, ESQ.
PLEASE TAKE NOTICE :

  
 

 

NOTICE OF
ENTRY that the within is a *xXxXxXxxxxxxx true copy of a
entered in the office of the Clerk of the within named
Court on 20
NOTICE that an Order of which the within is a true copy will be
OF presented to the Hon. , one of the
SETTLEMENT judges of the within named Court, at ,
on
20 at M.
Dated:
MARSHALL S. BLUTH, ESQ.
Attorneys for Plaintiff(s)
233 Broadway, Suite 1800
New York, NY 10279
TO;

Attorneys for Defendants

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